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 5
     Attorney for Defendant
 6
 7
                              IN THE UNITED STATES DISTRICT COURT
 8
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                   )   Case No. CR. S-13-00267-TLN
                                                 )
11                       Plaintiff,              )
                                                 )   WAIVER OF DEFENDANT’S PRESENCE;
12       v.                                      )   ORDER
                                                 )
13   FERLANDO CARTER,                            )
                                                 )
14                         Defendant.            )   Judge: Troy L. Nunley
                                                 )
15                                               )
16            Pursuant to Rule 43 of the Federal Rules of Criminal Procedure, defendant Ferlando
17   Carter, hereby waives the right to be present in person in open court upon the hearing of any
18   motion or other proceeding in this case, including, but not limited to, when the case is set for
19   trial, when a continuance is ordered, and when any other action is taken by the court before or
20   after trial, specifically, appearances for any hearing regarding modification of conditions of
21   supervised release, except upon arraignment, plea implanelment of jury and imposition of
22   sentence.
23            Defendant hereby requests the Court to proceed during every absence which the Court
24   may permit to this waiver; agrees that defendant’s interests will be deemed represented at all
25   times by the presence of the defendant’s attorney, the same as if the defendant were personally
26   present; and further agrees to be present in court ready for trial any day and hour the Court may
27   fix the defendant’s absence.
28

                                                      -1-             U.S. v. Avetisyan Waiver of appearance,
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 1          The defendant further acknowledges being informed of the rights under Title 18 U.S.C.
 2   §§ 3161-3174 (Speedy Trial Act), and authorizes the defendant’s attorney to set times and dates
 3   under that Act without the defendant’s personal presence.
 4          The original signed copy of this waiver is being preserved by the attorney undersigned.
 5   Dated: January 28, 2014
 6
                                                 /s/ Ferlando Carter
 7
 8          I agree and consent to my Client’s waiver of appearance.
 9   Dated: January 28, 2014
10                                               /s/ Douglas Beevers
                                                 DOUGLAS BEEVERS
11                                               Assistant Federal Defender
                                                 Attorney for Defendant
12                                               FERLANDO CARTER
13          IT IS SO ORDERED.
14   Dated: January 28, 2014
15
16
17
                                                 Troy L. Nunley
18                                               United States District Judge
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                                                   -2-              U.S. v. Avetisyan Waiver of appearance,
